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                   BEFORE THE UNITED STATES JUDICIAL PANEL ON
                           MULTIDISTRICT LITIGATION


     IN RE OPENAI INC.                                  MDL No. 3143
    COPYRIGHT INFRINGEMENT
    LITIGATION

                               SUPPLEMENTAL INFORMATION

       Pursuant to Rule 6.1(f) of the Rules of Procedure for the United States Judicial Panel on

Multidistrict Litigation, The New York Times Company, The Daily News Plaintiffs,1 and The Center

for Investigative Reporting, Inc. (collectively, the “News Plaintiffs”) respectfully write to notify the

Panel of developments in the subject district court actions (the “News Cases”), including the steps

that the parties have taken to coordinate discovery and scheduling.

       1.      Deposition Coordination. After the close of briefing on January 13, 2025, pursuant

to orders from Magistrate Judge Ona T. Wang, the parties held two in-person conferences on January

31 and March 7, 2025 at the courthouse in the Southern District of New York to negotiate and then

jointly prepare a deposition protocol. At the close of the March 7 conference, the parties prepared a

term sheet reflecting the results of their negotiations and advised Magistrate Judge Wang that the

parties were close to agreement. A copy of that term sheet is attached as Exhibit A (“Deposition

Coordination Agreement”). In Plaintiffs’ view, adoption of these terms would resolve virtually all

of the issues raised by OpenAI regarding depositions and potential duplicative discovery because the

depositions of OpenAI witnesses will be limited according to the parties’ agreed terms. See id. at

pp. 1-2. The parties worked together to set per-witness limits and total allotted deposition hours for

OpenAI, Microsoft, the News Plaintiffs, and the New York Class Plaintiffs.2 The agreement also



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 Daily News, LP; Chicago Tribune Company, LLC; Orlando Sentinel Communications Company,
LLC; Sun-Sentinel Company, LLC; San Jose Mercury-News, LLC; DP Media Network, LLC; ORB
Publishing, LLC; and Northwest Publications, LLC (the “Daily News Plaintiffs”).
2
 Moreover, agreement was reached regarding procedures to include the DMCA Plaintiff, The Intercept
Media, who now has a trial-ready date in September 2025, and thus, is under a firm discovery schedule
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resolves other ancillary issues around deposition coordination, including use of deposition transcripts

across cases, how to notice depositions, and amendment of the protective order (e.g., to accommodate

sharing of documents during depositions).

       On March 13, 2025, counsel for OpenAI advised that a number of additional issues have

arisen in connection with the parties’ negotiations regarding specific deposition dates, and that

certain issues in the term sheet would need to be revised. The parties are therefore continuing their

discussions in an effort to finalize the term sheet and resolve outstanding issues.

       In the meantime, all parties in the S.D.N.Y. Actions have agreed that OpenAI’s witnesses

will, to the extent that schedules allow for it and the documents relating to those witnesses have been

produced, be deposed once (for the agreed-upon period of time) in all of the S.D.N.Y. Actions. The

S.D.N.Y. Actions include the three News Cases, the New York Class Action Cases, and the DMCA

Case pending in the Southern District of New York.

       Depositions of OpenAI witnesses are already under way – with additional depositions

scheduled – and have been proceeding under the framework set forth in the term sheet.

       2.      Certification of Issue to the New York State Attorney General. The News Plaintiffs

also write to notify the Panel regarding developments with respect to sub judice motions before Judge

Stein in the News Cases. As outlined in the News Plaintiffs’ Opposition, OpenAI and Microsoft

filed partial motions to dismiss the News Cases, which are currently pending before Judge Stein in

the S.D.N.Y. See Opposition, p. 19 (motions directed to contributory copyright infringement,

DMCA violations, unfair competition, injury to business reputation, and a subset of direct

infringement claims). On January 14, 2025, Judge Stein heard oral argument on the motions to

dismiss. In connection with his consideration of Microsoft’s challenges to the constitutionality of

N.Y. Gen. Bus. Law § 360-1, Judge Stein certified the issue to the New York Attorney General. The

New York Times Co. v. Microsoft Corp. et al., 1:23-cv-11195 (S.D.N.Y.), Dkt. 452 (attached as


before Judge Rakoff in the S.D.N.Y.
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Exhibit B). The State of New York has until April 4, 2025, to determine whether it will intervene

pursuant to 28 U.S.C. § 2403(b) and Fed. R. Civ. P. 5.l(c). See id.

       The News Plaintiffs will be prepared to discuss these and any other issues at the hearing

scheduled for March 27, 2025.




Dated: March 20, 2025                             /s/ Kristen Logan

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        In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, the undersigned hereby certifies that on March 20, 2025, the

foregoing SUPPLEMENTAL INFORMATION was electronically filed by Plaintiffs Daily News,

LP; Chicago Tribune Company, LLC; Orlando Sentinel Communications Company, LLC; Sun-

Sentinel Company, LLC; San Jose Mercury-News, LLC; DP Media Network, LLC; ORB Publishing,

LLC; Northwest Publications, LLC; The New York Times Company; and The Center for

Investigative Reporting, Inc. with the Court for the JPML by using the CM/ECF system, which will

provide a notice of electronic filing to all registered participants.



Dated: March 20, 2025                                   /s/ Kristen Logan
                                                        Kristen Logan
